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                 DECLARATION OF SIOMARA M. UMANA

       1.      My name is Siomara M. Umana and I am a supervising attorney at Make
the Road New York. I am based in our Brentwood office, located at 1090 Suffolk Ave,
Brentwood, NY 11717 and specialize in immigration cases including representation of
noncitizen clients before the immigration courts and USCIS. I am admitted as an attorney
in New York State. I am fluent in Spanish.
       2.      On May 29, 2025, I was present on the 5th floor of the Varick Immigration
Court in Manhattan with two and later three colleagues in order to provide assistance to
pro se individuals attending their master calendar hearings, and at risk of having the
government (ICE) attorney move to dismiss their proceedings and/or detention by ICE
agents due to the expansion of expedited removal and the ongoing campaign by DHS to
target individuals in removal proceedings for expedited removal and detention.
       3.      My colleagues and I were present in courtroom four, before Immigration
Judge Lucy Billings. Throughout the morning, we spoke with and collected information
for 13 individuals who were present and appeared before the judge that morning. One of
the individuals had his two children with him as they were also part of his case. Of these
individuals, only one was represented by an attorney; the attorney appeared via Webex.
       4.      Of those 13 individuals, I witnessed the ICE attorney present in court,
move for dismissal in seven cases. The ICE attorney stated that the basis for this motion
was a change in circumstances since the NTA was filed, ICE had issued a memo
expanding the use of expedited removal and it was no longer in the interest of the
government to pursue removal proceedings. The same rationale was repeated in support
of all the oral motions to dismiss I witnessed.
       5.      The Immigration Judge directed ICE to file its motion in writing and none
of the motions were granted.
       6.      Of the seven individuals for whom a motion to dismiss was made, all were
subsequently detained by ICE in or immediately outside the courtroom, including the
person being represented by an attorney and two individuals, where the government
attorney did not move to dismiss the case. The two individuals who were detained despite
no motion to dismiss yet being filed in court were domestic partners who stated to me and
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my colleagues that they had children at home. In total, my colleagues and I witnessed
firsthand nine individuals get detained.
       7.      My colleagues and I collected A numbers for all of the individuals
detained and for whom the government moved to dismiss proceedings. Through publicly
available EOIR information, we are able to see the charges of removal and all seven are
charged under INA 212(a)(06)(A)(i), which is the charge for presence in the U.S. without
authorization. I know from my experience as an immigration attorney and other cases that
when an individual enters the U.S. through CBP One, that is not the removability charge:
the charge is INA 212(a)(7)(a)(i)(I), for seeking admission without a valid visa.
       8.      Among the seven individuals I observed face a motion to dismiss, all of
them already had an application for asylum filed with the court. In fact, everyone in court
that morning had a pending I-589 filed with court.
       9.      The experience of interacting with and observing individuals who are in
removal proceedings and fully compliant with their obligation to attend court and seek
relief and who are then suddenly forcibly detained, without any explanation or
consideration for their individual circumstances was deeply upsetting and unjust.
       10.     The individuals targeted for these actions were not provided any
explanation about what was happening and, because they were immediately detained,
will not have an opportunity to oppose DHS’s motion to dismiss. The heavy ICE
presence was also terrifying. In the course of the morning, ICE agents hovered outside of
the lobby, and towards the end of the morning hearings, plainclothes ICE agents began to
walk in and out of the courtroom.
       11.      The Immigration Judge repeatedly asked the agents why they were
entering her courtroom and if they would leave her courtroom and close the doors. The
agents did not heed her request. Witnessing their disregard for the immigration judge, and
their willingness to carry out detentions even inside the courtroom after directed not to,
made me concerned for the safety of all individuals present including myself and my
colleagues, particularly as I was 33 weeks pregnant on that day.
       12.     The entire experience was abhorrent, and not the usual courtroom
decorum we witness in immigration courts. I also heard a court staff member state the
situation “is getting out of hand and out of control.”
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               13.    One colleague reported that as he was accompanying a noncitizen to the
       elevators after his hearing had concluded, ICE officers detained the noncitizen and
       immediately wedged themselves in between the noncitizen and my colleague while
       telling him to step back and not to interfere. They rushed the noncitizen down the hallway
       and into an elevator without any sort of explanation about why he was being detained or
       where they were taking him.
               14.    Another colleague, an Immigrant Justice Corps Legal Fellow seeking to be
       admitted into the New York Bar had an emotional breakdown following the chaotic scene
       caused by the 14 ICE agents in the courtroom — particularly because earlier we had
       spoken with the couple that had children waiting for them back home, and where the ICE
       government did not move to dismiss their case, but now following their detention are
       more than likely to be removed. We were horrified to think what this means for the
       children.
               15.    Since May 29, I have made several attempts to ascertain the location of
       some of the individuals detained. Over 24 hours later, the ICE locator still did not list a
       location for most people we saw detained. I filed a G28 and emailed ICE ERO in New
       York City to ascertain the location of one woman detained and an ICE officer responded
       first saying she was still in New York City and then, less than five minutes later, another
       ICE officer responded saying she was in transit.
               16.    Three individuals detained were subsequently calendared on the detained
       docket at the Varick Immigration Court, which would have meant they got pro bono
       representation through a New York-based provider network. However, when I logged in
       to observe their Webex hearings on the day of their first master calendar hearing, I
       observed the immigration judge change the venue in the cases to other courts, which
       would mean they no longer qualify for representation, because they had now been
       transferred out of the New York City area. Unfortunately, leaving them without a means
       to access representation.
I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

DATED: June 9, 2025                                          _________________
Brentwood, NY                                                Siomara M. Umana
